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                                                                               E-FILED
                                                Monday, 09 September, 2013 12:50:24 PM
                                                           Clerk, U.S. District Court, ILCD

             IN THE UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF ILLINOIS
                     SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                )
                                         )
     Plaintiff,                          )
                                         )
     v.                                  )      No. 12-20008
                                         )
NOE SANCHEZ a.k.a.                       )
EPIMENIO SANCHEZ GONZALES                )
and MANUEL GONZALEZ,                     )
                                         )
     Defendants.                         )

                                  OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

     This cause is before the Court on Defendant Noe Sanchez’s, a.k.a.

Epimenio Sanchez Gonzales, Motion to Suppress Statements (d/e 20).

Defendant’s Motion is DENIED. The Government has demonstrated

that Defendant knowingly, voluntarily, and intelligently waived his rights

under Miranda. Miranda v. Arizona, 384 U.S. 436, 461, 86 S.Ct. 1602,

16 L.Ed.2d 694 (1966).
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                           I.   BACKGROUND

     Defendant and his nephew, co-defendant Manuel Gonzalez, have

been indicted on charges of conspiring to manufacture and distribute

marijuana, possession with intent to distribute marijuana, unlawful

possession of a firearm by an illegal alien, and possession of a firearm in

furtherance of a drug-trafficking crime. Defendant has also been charged

with illegal re-entry into the United States following deportation.

     On September 22, 2011, agents with the Kankakee County Major

Crimes Task Force patrolled the area of 7752 South 17000 East Road,

St. Anne, Illinois. Authorities had received an anonymous tip regarding

marijuana plants being grown in the area. Agents Russ Belcher and Andy

Mackin were greeted by co-defendant Manuel Gonzalez as the Agents

approached the address.

     The Agents advised co-defendant Gonzalez that they were looking

for marijuana plants. Co-defendant Gonzalez consented to the Agents

searching the property. Next to a shed that appeared to be the living

quarters of Defendant and co-defendant Gonzalez, the Agents saw one

marijuana plant. Approximately 50 to 75 yards from the shed, the


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Agents observed numerous manmade, evenly spaced rows of marijuana

plants. The plants had yellow plastic flowers attached to them. In all,

the Agents recovered 2,253 marijuana plants from the field and located a

loaded Browning BPS 10 gauge shotgun in the shed. At the scene, the

Agents asked Defendant and co-defendant Gonzalez about the marijuana

plants. Defendant and co-defendant Gonzalez denied any knowledge of

the marijuana crop.

A.   Defendant Eventually Stated that He and Co-defendant Gonzalez
     Took Care of the Marijuana Field at 7752 South 17000 East Road,
     St. Anne, Illinois

     Approximately four hours after Defendant had been taken to the

Kankakee County Sheriff’s Office, Agent Belcher interviewed Defendant,

a Mexican National and 28 years old at the time. At the outset of the

interview, Agent Belcher asked Defendant if he spoke English well

enough to understand Agent Belcher. Defendant waved his hand back

and forth and responded, “A little bit . . . I can understand a lot but, but

more than I can speak.” Sanchez Interview at 1:10. Agent Belcher told

Defendant to “stop” Agent Belcher if Defendant had “any questions . . .

at all” so Agent Belcher could “explain” the County’s interview policy


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and Defendant’s rights. Sanchez Interview at 1:15. Defendant answered

“Okay.” Agent Belcher then said “Cuz I don’t want you to, if I need to

get a translator in here to help out, I’ll do that.” Sanchez Interview at

1:25. Again, Defendant answered “Okay.”

     Agent Belcher then asked Defendant his name, date of birth,

address, and phone number. Defendant had difficulty spelling his name

orally, but asked for a piece of paper and was able to write his name and

date of birth. Sanchez Interview at 1:45, 2:11. Defendant stated that he

cannot read English and that he attended school in Mexico until he was

15 years old. Sanchez Interview at 5:55, 6:05.

     After these responses, Agent Belcher reviewed the Kankakee

County Sheriff’s Police Video/Audio Recorded Interview Consent form

by reading the form aloud to Defendant. Agent Belcher asked Defendant

if he understood what the consent form meant, and Defendant said

“Yeah, you just, you gonna be like talking to me and at the same time

taking my video and recording.” Sanchez Interview at 7:50. Agent

Belcher stated, “Exactly.”




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     Agent Belcher subsequently administered the Miranda warnings by

reading Kankakee County’s Voluntary Statement form aloud to

Defendant. Specifically, Agent Belcher advised Defendant of his right to

remain silent. Agent Belcher asked Sanchez if he understood what that

means. Sanchez answered “Yeah.” Sanchez Interview at 9:20. Next,

Agent Belcher advised Sanchez that anything he said could be used

against him in a court or courts of law for the offense or offenses

concerning which this statement is herein made. Agent Belcher asked

Sanchez if he understood this right. This time, Sanchez responded with

a “Mhmm.” Sanchez Interview at 9:30. After Sanchez’s response, Agent

Belcher advised Defendant of his right to hire a lawyer or, if Defendant

could not afford a lawyer, that Defendant could request and receive

appointment of a lawyer without cost. Agent Belcher also told

Defendant that he had the right to have an attorney present before and

during the statement. Again, Agent Belcher asked Defendant if he

understood these rights and Defendant said “Yeah.” Sanchez Interview

at 9:40, 9:50.




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     As stated, Agent Belcher asked Defendant if he understood each

warning that Agent Belcher read aloud. Once Defendant had indicated

he understood the warning, Agent Belcher had Defendant initial the

Voluntary Statement form on a line next to the specific warning. After

giving Defendant all of the Miranda warnings, Agent Belcher asked

Defendant to sign the bottom of the Voluntary Statement form and

Defendant did so.

     Agent Belcher then began asking Defendant questions about the

marijuana found at 7752 South 17000 East Road, St. Anne, Illinois.

During this questioning, Defendant denied knowledge of or involvement

with the growing of the marijuana. At one point, after Defendant

continued to deny any knowledge of the marijuana field, Agent Belcher

stated:

     Well, I’m telling you right now ok, listen to me. Manuel’s
     done the right thing. Right now he’s not going to the, to the
     jail. I can’t say that for you. Because I got the pictures that
     says what you’re gonna, it shows me what you’re doing. And
     when you lie to me, that’s kind of pissing me off right, I’m
     not here to be a bad guy, I’m sure not, but I’m just wanting
     you to be honest with me.

See d/e 37 at 34.


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     After about 40 minutes of questioning, Defendant finally admitted

that he and co-defendant Gonzalez had started taking care of the

marijuana plants approximately 4 to 5 months before the September 22,

2011 interview at the Kankakee County Sheriff’s Office. Defendant

stated that he and co-defendant Gonzalez would put fertilizer on the

plants. Sanchez Interview at 1:00:40. Defendant also stated that the

buds would turn brown in about 1 month and at that point the plants

would be ready to harvest. Sanchez Interview at 42:25.

     Agent Belcher further questioned Defendant about the flowers tied

to the plants, the shotgun found in the shed, and how much money

Defendant thought he and co-defendant Gonzalez would make for

raising the marijuana crop. Defendant denied that he had tied flowers to

the plants but agreed that the flowers were there to camouflage the plants

from aerial surveillance. Sanchez Interview at 44:20. Defendant then

stated that he had taken the shotgun into the field with him on more

than one occasion and thought that he and co-defendant Gonzalez would

each receive $5,000.00 as payment for taking care of the marijuana crop.

Sanchez Interview at 48:30, 51:55.


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     Toward the end of the interview, Agent Belcher asked Defendant if

he needed water. Defendant asked to use the restroom. Defendant used

the restroom and got some water. Sanchez Interview at 54:00.

     Defendant has filed the instant Motion to Suppress Statements

that were (d/e 20) made to Agent Belcher during the interview.

B.   Defendant Sanchez Has Two Prior Felony Convictions in the
     United States and Has Spent Significant Time In the United States

     Defendant has two prior felony convictions in the United States for

unlawful sex with a minor. The police reports from those convictions

reveal that in 2008, Defendant was interviewed by police and advised of

his rights under Miranda. The records further show that Defendant

waived his rights under Miranda and spoke with officers about the prior

crimes. Court records also show that Defendant had been living in the

United States for 10 years prior to his 2009 convictions for unlawful sex

with a minor, or since he was 14 years old.

C.   The Government Presented Witnesses that Gave Testimony
     Regarding Defendant’s Two Prior Felony Convictions and the
     Discovery of the Marijuana Grow In St. Anne, Illinois

     On August 23, 2013, an evidentiary hearing was held on

Defendant’s Motion to Suppress Statements. Deputy Don Harmon and
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Deputy Robin Gonzalez, both of the Yolo County California Sheriff’s

Department, testified that each had spoken with Defendant and advised

him of his rights under Miranda during the investigations of Defendant’s

two prior felony convictions for unlawful sex with a minor. Deputies

Harmon and Gonzalez stated that they had admonished Defendant of

his rights under Miranda in English and that neither Deputy speaks

Spanish.

     Furthermore, the Deputies testified that Defendant exhibited an

understanding of English during the interviews. Deputy Harmon

specifically recalled Defendant giving details about his sexual contact

with the minor including that Defendant had used a condom because the

minor was not on birth control. Defendant also admitted to Deputy

Harmon that Defendant knew his conduct was inappropriate. Deputy

Gonzalez testified that she and Defendant spoke for about forty-five

minutes, and, that during the interview, Defendant articulated that a

restraining order had been issued for Defendant to refrain from

contacting the minor, that Defendant realized he was violating that




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order, and that Defendant was willing to break the law because he loved

the minor.

     Yolo County has a significant Hispanic population and the Sheriff’s

Department has Spanish speakers on staff. However, at no time during

the interviews did Deputies Harmon or Gonzalez believe Defendant

required a Spanish interpreter to understand his rights under Miranda or

a conversation in English.

     Also during the evidentiary hearing, the Government presented

testimony from Agent Belcher and Agent Mackin. The agents testified

to, among other things, their discovery of the marijuana field. Agent

Belcher also elaborated on his interview of Defendant at the Kankakee

County Sheriff’s Office.

                           II. LEGAL STANDARD

     The Fifth Amendment of the United States Constitution provides

that no person “shall be compelled in any criminal case to be a witness

against himself.” U.S. Const. amend. V.

     In Miranda, the Supreme Court concluded that, without proper

safeguards, the process of in-custody interrogation of persons suspected


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or accused of a crime contains inherently compelling pressures which

work to undermine the individual’s will to resist and to compel him to

speak where he would not otherwise do so freely. Miranda, 384 U.S. at

469. Consequently, the Court formulated the Miranda warnings to

assure that the individual’s right to choose between silence and speech

remains intact throughout the interrogation process. Id. Therefore,

before custodial interrogation, police must warn an individual that he has

a right to remain silent, that any statement he does make may be used as

evidence against him, and that he has the right to the presence of an

attorney, retained or appointed. Id. at 444.

     A valid Miranda waiver must be intelligent, knowing, and

voluntary. Berghuis v. Thompkins, 560 U.S. 370, 130 S.Ct. 2250, 176

L.Ed.2d 1098 (2010). That is, the waiver must have been “the product

of a free and deliberate choice rather than intimidation, coercion, or

deception,” and the “totality of the circumstances surrounding the

interrogation” must show that the defendant had “a full awareness of

both the nature of the right being abandoned and the consequences of

the decision to abandon it.” Moran v. Burbine, 475 U.S. 412, 421, 106


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S.Ct. 1135, 89 L.Ed.2d 410 (1986), accord, Colorado v. Spring, 479 U.S.

564, 573-74, 107 S.Ct. 851, 93 L.Ed.2d 954 (1987). The burden is on

the Government to demonstrate by a preponderance of the evidence that

the individual knowingly, voluntarily, and intelligently waived his rights

under Miranda. Colorado v. Connelly, 479 U.S. 157, 168, 107 S.Ct.

515, 93 L.Ed.2d 473 (1986).

                             III. ANALYSIS

     In this case, Defendant argues that he did not knowingly,

voluntarily, and intelligently waive his rights under Miranda.

Specifically, Defendant contends that he was subjected to the abusive

police practice of failing to ensure that Defendant understood his rights,

given his limited English skills. Defendant also argues that, even absent

an abusive police practice, the Government cannot establish that

Defendant’s waiver was knowing and intelligent given his limited English

language skills and cultural background.

A.   Defendant Voluntarily Waived His Rights Under Miranda Because
     He Was Not Subjected to Abusive Police Practices

     Defendant argues first that despite Defendant’s deficient English

skills, Agent Belcher did not provide a Spanish translation of Defendant’s
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rights under Miranda, did not provide an interpreter for Defendant, and

failed to ensure that Defendant understood his rights under Miranda.

Defendant asserts that Agent Belcher’s failure to provide either an

interpreter or a Spanish translation of the Miranda warnings constituted

an abusive police practice that rendered Defendant’s waiver involuntary.

     The abusive police practices Defendant alleges occurred are the

types of acts that the constitutional principles underlying Miranda seek

to curb. Rice v. Cooper, 148 F.3d 747, 750 (7th Cir. 1998). If it is

apparent to police that a defendant cannot speak English, attempting to

extract a waiver of his rights under Miranda is obviously an abusive

police practice that would render a waiver involuntary. Id. (giving

examples of abusive police practices but affirming district court’s decision

that 16-year-old mentally retarded defendant waived his rights under

Miranda because the police believed the defendant understood the

explanation of his rights).

     Here, Agent Belcher began the more than one hour long

conversation with Defendant by asking Defendant if he spoke English

well enough to understand Agent Belcher. Defendant waved his hand


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back and forth and responded, “A little bit . . . I can understand a lot but,

but more than I can speak.” Sanchez Interview at 1:10. Agent Belcher

told Defendant to “stop” Agent Belcher if Defendant had “any questions

. . . at all” so Agent Belcher could “explain” the County’s interview policy

and Defendant’s rights. Sanchez Interview at 1:15. Sanchez answered

“Okay.” Agent Belcher then said “Cuz I don’t want you to, if I need to

get a translator in here to help out, I’ll do that.” Sanchez Interview at

1:25. Again, Defendant answered “Okay.”

     Agent Belcher also reviewed the Kankakee County consent form for

video recorded interviews by reading the form aloud to Defendant.

Agent Belcher asked Defendant if he understood what the consent form

meant, and Sanchez said “Yeah, you just, you gonna be like talking to me

and at the same time taking my video and recording.” Sanchez Interview

at 7:50. Agent Belcher stated, “Exactly.”

     During their conversation, Agent Belcher also asked Defendant

questions about the property at 7752 South 17000 East Road, St. Anne,

Illinois, the marijuana being grown on that property, the shed on the

property, the yellow flowers tied to the marijuana plants, and a 10 gauge


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Browning shotgun found in the shed. After each question, Defendant

gave a response that correctly addressed each question.

     Because Defendant accurately and adequately addressed all of

Agent Belcher’s questions that were posed in English, Agent Belcher had

no reason to think that Defendant could not understand English.

Consequently, Agent Belcher did not engage in the abusive police

practice of trying to extract a Miranda waiver from an individual that

Agent Belcher clearly knew could not understand or speak English.

B.   Defendant Has the English Skills and Understanding of United
     States Law to Have Knowingly and Intelligently Waived His Rights
     Under Miranda

     Defendant also argues that, even if his waiver was not a product of

abusive police practices, the waiver was not knowing and intelligent.

Defendant contends that he only understands conversational English and

that his cultural background limits his ability to truly understand the

archaic Miranda warnings that Agent Belcher administered during the

interrogation.




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     1.      Defendant Understands English Well Enough to Have
             Knowingly and Intelligently Waived His Rights Under
             Miranda

     Generally, a defendant’s waiver is knowing and intelligent if he

understands that he can refuse to talk to people asking him questions or

stop the questioning altogether. Collins v. Gaetz, 612 F.3d 574, 588

(7th Cir. 2010). “It is only when the evidence in the case shows that the

defendant could not comprehend even the most basic concepts

underlying the Miranda warnings that the courts have found an

unintelligent waiver.” Id. An example of this would be where the

defendant has such a poor understanding of English that he clearly

cannot understand what the officer has said. Id. (citing United States v.

Alarcon, 95 Fed.Appx. 954, 955-57 (10th Cir. 2004) (noting that the

defendant understood only “bits and pieces” of English and often

pretended to understand English out of embarrassment and a desire to

cooperate)); United States v. Garibay, 143 F.3d 534, 537-38 (9th Cir.

1998) (finding no evidence that the defendant spoke enough English to

understand warnings, and several witnesses testified that he spoke only a

few words of English).


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     In this case, however, the conversation between Defendant and

Agent Belcher demonstrates that Sanchez understood the Miranda

warnings administered by Agent Belcher.

     Furthermore, Deputies Harmon and Gonzalez of the Yolo County

Sheriff’s Department testified that each had administered Miranda

warnings and interviewed Defendant during the investigation of

Defendant’s prior felony convictions for unlawful sex with a minor. Yolo

County has a significant Hispanic population and the Sheriff’s

Department has Spanish speaking staff on hand. Despite having Spanish

speaking staff, neither Deputy believed Defendant required an

interpreter to understand his rights under Miranda or the interviews

conducted entirely in English. The Deputies also recalled Defendant’s

ability to articulate facts about the crimes he had committed, that he

understood his actions were wrong, and that legal action had already

been taken to prevent Defendant from contacting the minor.




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     2.      Defendant’s Cultural Background Did Not Preclude a
             Knowing and Intelligent Waiver of His Rights Under
             Miranda

     Defendant also states that he is a native of Michoacan, Mexico.

Attached to the instant Motion is a scholarly article that discusses the

culture of corruption and violence that accompanies police interactions in

Michoacan, Mexico. Rodrigo Murataya, Power With Impunity:

Michoacan, Mexico, 1 Int’l J. of Humanities and Social Science no. 16,

pp. 84-90 (Nov. 2011), http://www.ijhssnet.com/journals/Vol_1_No_16_

November_2011/11.pdf. Defendant contends that his interactions with

the police environment in Mexico have colored his perception of law

enforcement so he “had no reason to believe that his rights would be

honored.” See d/e 20 at 10.

     Defendant correctly notes that his cultural background is a factor

that could show he did not knowingly and intelligently waive his rights

under Miranda. Fare v. Michael C., 442 U.S. 707, 725, 99 S.Ct. 2560,

2572, 61 L.Ed.2d 197 (1979) (considering the totality of the

circumstances including “age, experience, education, background and




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intelligence” to determine whether a juvenile knowingly and intelligently

waived his rights under Miranda).

     However, Defendant’s cultural background does little to show that

he did not understand the Miranda warnings because Defendant has

spent significant time in the United States and has two prior felony

convictions in the United States. Police reports from these prior contacts

with United States law enforcement officials reveal that, in 2008,

Defendant was interviewed, advised of his rights under Miranda, waived

his rights, and spoke to officers about his involvement in criminal

activity. Court records from Defendant’s cases also show that he had

been living in the United States for 10 years prior to his 2009 conviction.

     Clearly, Defendant’s cultural background includes a substantial

portion of time spent in the United States and prior contact with the

United States justice system. Further, he has demonstrated an

understanding of English in his interviews with Yolo County Deputies

Harmon and Gonzalez and in the interview with Agent Belcher.

Therefore, neither Defendant’s cultural background nor his limited




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English skills precluded him from knowingly and intelligently waiving his

rights under Miranda.

                          IV. CONCLUSION

    The Government has presented evidence showing Defendant

Sanchez knowingly, voluntarily, and intelligently waived his rights under

Miranda. Therefore, Defendant Sanchez’s Motion to Suppress (d/e 20)

is DENIED.

IT IS SO ORDERED.

ENTER: September 6, 2013

FOR THE COURT:                         s/ Sue E. Myerscough
                                       SUE E. MYERSCOUGH
                                  UNITED STATES DISTRICT JUDGE




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